Case 2:15-cv-10628-MFL-EAS ECF No. 916, PageID.60218 Filed 09/13/22 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 VERSATA SOFTWARE, INC. et al.,

         Plaintiffs,                             Case No. 15-cv-10628
                                                 (consolidated with Case No. 15-11624)
 v.                                              Hon. Matthew F. Leitman

 FORD MOTOR COMPANY,

      Defendant.
 __________________________________________________________________/
                   ORDER RESOLVING PRE-TRIAL MOTIONS
                   (ECF Nos. 820, 833, 860, 875, 878, 881, AND 914)

         On September 12, 2022, the Court held a hearing on several outstanding pre-

 trial motions. For the reasons explained on the record, the motions are resolved as

 follows.

       The remaining portion of Versata’s motion in limine to exclude evidence and
         argument about Versata ‘changing’ its trade secret theory (ECF No. 820) that
         the Court previously took under advisement is GRANTED IN PART AND
         DENIED IN PART as follows. Ford may cross-examine Dr. Sam Malek and
         Seth Krauss concerning whether the trade secrets that they identify at trial are
         inconsistent with the trade secrets that they previously identified. Ford may
         also cross-examine Krauss concerning whether his apportionment analysis
         apportions to trade secrets that differ in any respect from the trade secrets
         Versata identifies at trial.    With the exception of this limited cross-
         examination testimony, Ford shall not introduce evidence or elicit testimony
         at trial that Versata “changed” its trade secret misappropriation theory.

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Case 2:15-cv-10628-MFL-EAS ECF No. 916, PageID.60219 Filed 09/13/22 Page 2 of 3




     The remaining portions of Versata’s omnibus motion in limine (ECF No. 833)
       that the Court previously took under advisement are GRANTED IN PART
       AND DENIED IN PART as follows:

          o Versata’s motion in limine number six to exclude “[a]ny assertion by
             Ford that it cannot infringe Versata’s asserted intellectual property
             merely because Ford has its own patents” is GRANTED.

          o Versata’s motion in limine number seven to exclude “any reference,
             assertion, suggestion, argument, evidence, testimony (including expert
             testimony), or inquiries attempting to elicit testimony about Ford
             patents, including any suggestion that a patent or patent application is
             a defense to infringement” is DENIED. Ford may introduce evidence
             of its patents for the purposes identified in Ford’s response to Versata’s
             omnibus motion in limine.

          o Versata’s motion in limine number eight to exclude from evidence
             “Versata’s current software licenses and agreements with automotive
             companies other than Ford, including any negotiations related to
             current licenses or agreements with automotive companies other than
             Ford” is GRANTED.

     Ford’s motion to exclude Versata’s new damages expert’s “lost profits”
       contract damages opinions (ECF No. 860) is GRANTED. The breach of
       contract damages opinions in Renee McMahon’s July 2022 reply expert report
       are EXCLUDED from evidence at trial.

     Versata’s motion for reconsideration (ECF No. 875) is DENIED.


                                          2
Case 2:15-cv-10628-MFL-EAS ECF No. 916, PageID.60220 Filed 09/13/22 Page 3 of 3




     Versata’s motion for a Certificate of Appealability (ECF No. 878) is
       DENIED.

     Ford’s motion to conditionally withdraw its consent to Versata’s combination
       trade secret theory (ECF No. 881) is TERMINATED AS MOOT.

     Versata’s motion to strike Ford’s supplemental brief (ECF No. 914) is
       GRANTED. The Court STRIKES from the record Ford’s supplemental brief
       at docket number 903.


       IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
 Dated: September 13, 2022            UNITED STATES DISTRICT JUDGE


        I hereby certify that a copy of the foregoing document was served upon the
 parties and/or counsel of record on September 13, 2022, by electronic means and/or
 ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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